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  9   and Chris Sznewajs
 10

 11                            UNITED STATES BANKRUPTCY COURT

 12                            SOUTHERN DISTRICT OF CALIFORNIA
 13   In re:                                        Case No. 24-01376-CL7
 14
      PIRCH, INC.,                                  Chapter 7
 15
                     Debtor.                        OBJECTION OF LOMBARDI
 16                                                 CONSTRUCTION, INC. AND CHRIS
                                                    SZNEWAJS TO THE TRUSTEE’S
 17                                                 MOTION TO (1) APPROVE AUCTION
 18                                                 PROCEDURES, AND (2) SELL
                                                    PERSONAL PROPERTY PURSUANT
 19                                                 TO 11 U.S.C. SECTION 363, FREE
                                                    AND CLEAR OF LIENS,
 20                                                 CLAIMS, AND INTERESTS
 21                                                 Judge: Hon. Christopher B. Latham
 22
                                                    Date: June 28, 2024
 23                                                 Time: 11:00 a.m. (PT)
                                                    Place: U.S. Bankruptcy Court
 24                                                        Department 1
                                                           325 West F Street
 25                                                        San Diego, CA 92101
 26

 27

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  1          Lombardi Construction, Inc. and Chris Sznewajs (together, “Claimants”) hereby
  2   object to the motion of the chapter 7 trustee (the “Trustee”) to approve auction procedures and
  3
      sell personal property free and clear [Docket No. 90] (the “Sale Motion”) and respectfully
  4
      submit as follows:
  5
                                    PRELIMINARY STATEMENT
  6

  7          1.      Pirch, Inc. (“Pirch” or the “Debtor”) was a seller of high end, custom-ordered

  8   home appliances and fixtures in Southern California. Pirch did not carry inventory for general

  9   sale, but only products expressly ordered by and for specific customers. As of the
 10
      commencement of this case, Pirch was in possession of the Trust Property (as defined below),
 11
      which products had been specifically ordered by Claimants, had been fully paid for by
 12
      Claimants, and were being held for delivery to Claimants. All such products are subject to a
 13
      resulting trust in favor of Claimants and therefore are not property of the estate.
 14

 15          2.      By the Sale Motion, the Trustee seeks approval to sell all Pirch inventory

 16   including the Trust Property. This request should be denied because the Bankruptcy Code
 17   does not allow for such a sale. The Sale Motion should also be denied for lack of business
 18
      justification. Finally, Claimants demand adequate protection of their interests in the Trust
 19
      Property and the Sale Motion may not be approved absent such protection.
 20
                                      FACTUAL BACKGROUND
 21

 22          3.      On April 19, 2024 (the “Petition Date”), Pirch voluntarily commenced a case

 23   under chapter 7 of the Bankruptcy Code in this Court.

 24    A. The Pirch Business
 25          4.      Prior to the Petition Date, Pirch was a seller of high end, custom-ordered home
 26
      appliances and fixtures in Southern California.
 27

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  1          5.      Pirch did not manufacture any appliances or fixtures. Pirch did not operate by
  2   stocking general inventory in the hope of future sales to unknown customers.            Rather,
  3
      customers would first order and pay for specific products, and only then would Pirch order
  4
      such products from the manufacturer or supplier. See, e.g., Declaration of Chris Lombardi in
  5
      Support of Claimants’ Motion for Preliminary Injunction (the “Lombardi Declaration”, a
  6

  7   copy of which is attached as Exhibit 1 hereto) ¶ 5.

  8          6.      Many of the products sold by Pirch were also custom-configured by the

  9   customer from a wide range of potential colors, styles and finishes. For example, a customer
 10
      could select a particular style of faucet, in a specific color and finish, and with particular
 11
      handles. This product configuration would then be specifically manufactured or assembled by
 12
      the manufacturer or supplier to fulfill that customer’s order. But whether the product was
 13
      largely custom-configurable (like a faucet), or had some customization available (like a
 14

 15   refrigerator with door options), or was not customizable (like a microwave), Pirch did not carry

 16   such products as inventory for future sales. Lombardi Decl. ¶¶ 6, 7.
 17          7.      After Pirch received the specifically-ordered products from the manufacturer or
 18
      supplier, Pirch would hold such products until the specific customer was ready for delivery.
 19
      Pirch did not then offer such products for sale to different customers. Id. ¶ 8.
 20
             8.      Rather, Pirch stored the product and had the right to charge the customer for
 21

 22   overly-extended holding periods. A copy of the standard Pirch terms and conditions is attached

 23   hereto as Exhibit 2 (the “Pirch Terms”). As set forth therein, Pirch states that it “would be

 24   happy to hold Your product for 30 days from the time we received all products for the
 25   scheduled phase of Your job” before the customer would be charged holding costs of up to 5%
 26
      per month. See Pirch Terms at 2 (emphasis added).
 27

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  1          9.      In general, appliances being held for future delivery would be individually
  2   tagged with the customer name and order number, while plumbing fixtures (which are
  3
      substantially smaller) were palletized for shipping and then tagged. Lombardi Decl. ¶ 9.
  4
       B. The Project and Orders
  5
             10.     Lombardi Construction, Inc. (“Lombardi”) has been building custom homes in
  6

  7   the Southern California area for nearly 30 years. Lombardi has worked on at least 6 projects

  8   involving products from Pirch over the past nine years, involving approximately 15 orders and

  9   hundreds of products overall. Lombardi Decl. ¶ 4.
 10
             11.     Lombardi was engaged by Chris Sznewajs to build a home in Manhattan Beach,
 11
      California (the “Project”). Id. ¶ 10.
 12
             12.     On June 28, 2022, Claimants ordered certain appliances and related products
 13
      for the Project from Pirch, with a requested delivery date of March 1, 2024, under order no.
 14

 15   ORD-219189-P6Q2K9 (the “Appliances Order”). Id. ¶ 11.

 16          13.     On January 27, 2023, Claimants ordered certain plumbing fixtures and related
 17   products for the Project from Pirch, with a requested delivery date of July 1, 2024, under order
 18
      no. ORD-233180-W3M7B7 (the “Plumbing Order”). Id.
 19
             14.     The Appliances Order and the Plumbing Order are subject to the Pirch Terms.
 20
             15.     Some of the products in the Appliances Order or the Plumbing Order were
 21

 22   manufactured or assembled to the specific order of the Claimants. Id. ¶ 12.

 23          16.     The Appliances Order was fully paid by the Claimants by July 21, 2023. The

 24   Plumbing Order was fully paid by the Claimants by September 15, 2023. Id. ¶ 13.
 25          17.     As of the Petition Date, despite the full payment by Claimants of the Appliances
 26
      Order and of the Plumbing Order, certain products from those orders had not been delivered
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  1   to Claimants. A list of such products is attached hereto as Exhibit 3 (the “Missing Products”).
  2   Id. ¶ 14.
  3
              18.    Prior to the Petition Date, Pirch had confirmed by email to Lombardi that some
  4
      of the Missing Products had been ordered and received by Pirch and were ready for delivery.
  5
      Id. ¶ 15.
  6

  7           19.    Based on its experience in the industry and with Pirch, and given the early order

  8   dates of the Appliances Order and the Plumbing Order, and given the email confirmations of

  9   delivery from Pirch, Lombardi believes that many if not all of the Missing Products were
 10
      ordered and actually received by Pirch prior to the Petition Date. Id. ¶ 16.
 11
              20.    The Missing Products that were received by Pirch or by the estate at any time
 12
      are referred to herein as the “Trust Products”.
 13
       C. The Proposed Sale
 14

 15           21.    On May 13, 2024, Claimants notified the Trustee in detail regarding the Trust

 16   Products and the basis for Claimants’ resulting trust therein in writing, and thereafter on
 17   multiple occasions.
 18
              22.    On May 20, 2024, Claimants commenced an adversary proceeding captioned
 19
      Lombardi Construction, Inc. et al. v. Pirch, Inc. et al., No. 24-90039-CL (the “Adversary
 20
      Proceeding”), seeking among other things, declaratory relief that the Trust Property is the
 21

 22   Claimants’ property and is held in a resulting trust for Claimants.

 23           23.    On May 24, 2024, the Trustee filed the Sale Motion with an attached inventory

 24   list (the “Inventory List”). Although the Trustee has had control over the Debtor’s inventory
 25   for multiple weeks, has been moving inventory across locations, and is now seeking to sell all
 26
      inventory, the Trustee has not yet verified the inventory being held by the estate.
 27

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  1           24.     The Inventory List is the only inventory list that has been made available to
  2   Claimants or other creditors. The Inventory List discloses 72 products matching the Trust
  3
      Property, a list of which is attached hereto as Exhibit 4 (the “Matching Property”).
  4
              25.     The Sale Motion also proposes auction procedures that are expressly predicated
  5
      on bulk sales to third parties. See, e.g., Sale Motion at 11, 12, 13. The Sale Motion does not
  6

  7   suggest that there will be any purchase price allocation by item in any such bulk sale. The

  8   Trustee has refused to commit to conditioning bulk sales on any such allocation.

  9
                                                ARGUMENT
 10
       A. The Trust Property is Held in a Resulting Trust for Claimants
 11
              26.     Under California law, “[a] resulting trust arises from a transfer of property
 12

 13   under circumstances showing that the transferee was not intended to take the beneficial

 14   interest.” In re Sale Guar. Corp., 220 B.R. 660, 664 (9th Cir. B.A.P. 1998), aff’d, 199 F.3d

 15   1375 (9th Cir. 2000) (internal marks and quotation omitted). “The rule is too well established
 16
      to admit of serious dispute that where property is acquired in the name of A., but for a
 17
      consideration furnished by B., it will be taken, in the absence of countervailing circumstances,
 18
      that B. is the real owner, and that A. holds the title in his name as trustee merely, that is, there
 19
      is a resulting trust with him as trustee and B. as beneficiary.” Lezinsky v. Mason Malt Whisky
 20

 21   Distilling Co., 185 Cal. 240, 244 (Cal. 1921); see also Restatement (Third) of Trusts § 9 (2003)

 22   (“where a transfer of property is made to one person and the purchase price is paid by another,
 23   a resulting trust arises in favor of the person by whom the purchase price is paid.”).
 24
              27.     The relevant facts here are not subject to bona fide dispute. Pirch’s business
 25
      model of not stocking inventory for general sale, but rather to only hold items specifically
 26
      ordered and paid for by particular customers is not subject to reasonable dispute. E.g.,
 27

 28   Lombardi Decl. ¶ 5. Nor can there be reasonable dispute that the Trust Products were
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  1   specifically ordered by Claimants from Pirch, that Pirch ordered such products from its
  2   suppliers to fulfill Claimants’ orders as directed by and for the benefit of Claimants, that Pirch
  3
      kept and did not deliver such products at Lombardi’s instruction, and that Pirch received all of
  4
      the bargained-for consideration from Claimants but did not deliver the promised products. The
  5
      Trustee makes no allegation regarding Pirch’s business operations or ordinary course practices
  6

  7   that would defeat a resulting trust claim. There is no bona fide dispute that the Pirch Terms

  8   identify products stored by Pirch as “Your [i.e, specific customer’s] product.” The Trustee

  9   has no evidence that any other creditor ordered the Trust Products, that Pirch was holding the
 10
      Trust Products for sale to third parties, or of any other fact that would defeat the Claimants’
 11
      resulting trust claim.
 12
              28.     Similarly, there is no bona fide dispute on any legal issue here. While the
 13
      Claimants do not have “serial numbers” for the Trust Property, this does not bring the resulting
 14

 15   trust into bona fide dispute. California law does not require such specificity for a resulting

 16   trust, and there is no reason to believe that there is any traceability problem for any Trust
 17   Products (particularly for items with custom configurations). The Inventory List shows many
 18
      items of Matching Property where there is only a single such item in the warehouse – for
 19
      example, the Inventory List shows just one Wolf oven model #SO3050PE/S/P. Claimants have
 20
      established that they have ordered and paid for this item. The Trustee has no evidence that any
 21

 22   other creditor ordered the Trust Products, that Pirch was holding the Trust Products for sale to

 23   third parties, or of any other fact or argument that would defeat the Claimants’ resulting trust

 24   claim, let alone of 4,355 other resulting trust claims to any such items.
 25           29.     Property of the estate does not include “any equitable interest in [] property that
 26
      the debtor does not hold” even if the debtor has legal title to such property. 11 U.S.C. § 541(d).
 27
      Property that is held in “a resulting trust cannot be part of the debtor’s estate.” In re Golden
 28
                                                       6
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  1   Triangle Cap., Inc., 171 B.R. 79, 83 (9th Cir. B.A.P. 1994). The Trust Property cannot be sold
  2   because it is not property of the estate. “A bankruptcy court may not allow the sale of property
  3
      as “property of the estate” without first determining whether the debtor in fact owned the
  4
      property.” In re Rodeo Canon Dev. Corp., 362 F.3d 603, 608-09 (9th Cir. 2004), opinion
  5
      withdrawn and superseded on other grounds, 126 F. App’x 353 (9th Cir. 2005).
  6

  7    B. The Trustee Cannot Sell the Trust Property Under Section 363(f)

  8          30.     Section 363(f) of the Bankruptcy Code allows a debtor to sell property “free

  9   and clear of any interest in such property” if one of the following conditions is met:
 10
                     (1)     applicable nonbankruptcy law permits the sale of such property free
 11                          and clear of such interest;

 12                  (2)     the party asserting the lien, claim or interest consents to the sale;
                     (3)     the interest is a lien and the sale price for the property is greater than
 13
                             the aggregate value of all liens on the property;
 14                  (4)     the interest is the subject of a bona fide dispute; or
 15                  (5)     such entity could be compelled to accept a money satisfaction of such
                             interest.
 16
      11 U.S.C. § 363(f).
 17
             31.     No such conditions apply with respect to the Trust Property and the Claimants’
 18

 19   resulting trust. The Claimants do not consent to any sale of the Trust Property by the Trustee,

 20   and the Sale Motion does not even suggest that the proposed sale is subject to sections 363(f)(1)
 21   or 363(f)(3). Similarly, while the Sale Motion identifies section 363(f)(5) and the ability to
 22
      compel a junior lienholder to accept a money satisfaction in a foreclosure process, the Trustee
 23
      does not suggest that foreclosure is applicable to a resulting trust. And as set forth above, there
 24
      is no bona fide dispute that the Trust Property is in a resulting trust for Claimants.
 25

 26          32.     Even where an interest is subject to bona fide dispute, a section 363(f) sale

 27   requires that such interest attach to the sale proceeds. See In re Groves, 652 B.R. 104, 114 (9th

 28
                                                       7
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  1   Cir. B.A.P. 2023) (citations omitted). But the process proposed by the Sale Motion does not
  2   allow this. The Sale Motion process expressly relies on bulk sales (i.e., sales of multiple
  3
      products in lots). It does not require any purchase price allocation (nor could such an allocation
  4
      be binding on creditors if it did). But this means that funds will be inevitably commingled
  5
      upon sale, such that any tracing will be impossible and all trust claims will be lost. This does
  6

  7   not grant Claimants with their interest but in the proceeds. Accordingly, the proposed sale

  8   should not be free and clear of the Claimants’ resulting trust claim.

  9    C. The Proposed Sale Is Not Justified
 10
              33.    By the Sale Motion, the Trustee seeks to sell the Pirch inventory outside of the
 11
      ordinary course. Such sales require a “business justification.” In re Verity Health Sys. of Cal.,
 12
      Inc., 589 B.R. 283, 292 (Bankr. C.D. Cal. 2018) (noting that the sufficiency of the business
 13
      justification “depends on the case”) (quotation omitted). No such justification exists here.
 14

 15   Unlike almost every other bankruptcy sale process, and despite having control over the

 16   inventory and multiple weeks into this case, the Trustee does not yet know what property is
 17   being held but seeks to sell it in a unspecified process after Court approval. Nothing in the
 18
      record permits a finding that such a process is appropriate.
 19
              34.    The costs of the warehouse leases does not justify the proposed sale process
 20
      without consideration of other alternatives. For example, the Trustee has already consolidated
 21

 22   inventory into certain locations, and further consolidation may be possible. More broadly,

 23   while the Trustee is concerned over $280,000 per month in rent, the estate is far from being

 24   administratively insolvent. The Pirch inventory is, by all accounts, worth well in excess of
 25   $10,000,000 and can be liquidated quickly. The circumstances do not justify the proposed
 26
      sale.
 27

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 1    D. Demand for Adequate Protection
 2           35.     The Bankruptcy Code conditions the use or sale of property by the trustee on
 3
     adequate protection for requesting parties of their interests in such property. 11 U.S.C. §
 4
     363(e). Claimants hereby demand adequate protection of their trust claims and interests in the
 5
     Trust Property in connection with the Sale Motion or any other use or sale of such property by
 6

 7   the Trustee.

 8                                         CONCLUSION
 9
             For the foregoing reasons, Claimants respectfully request that the Court deny the Sale
10
     Motion with respect to the Trust Property, and grant such other and further relief to Claimants
11
     as is just and proper.
12

13
     Dated: June 7, 2024                   RAINES FELDMAN LITTRELL LLP
14

15                                         /s/ Hamid R. Rafatjoo
                                           Hamid R. Rafatjoo (SBN 181564)
16                                         David S. Forsh (pro hac vice)

17                                         Counsel for Lombardi Construction, Inc.
                                           and Chris Sznewajs
18

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                             EXHIBIT 1
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     Counsel for Plaintiffs Lombardi Construction, Inc.
 9   and Chris Sznewajs
10

11                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF CALIFORNIA
12
     In re:                                                Case No. 24-01376-CL
13
     PIRCH, INC.,                                          Chapter 7
14

15                   Debtor.

16
     LOMBARDI CONSTRUCTION, INC. AND                       Adv. Proc. No. 24-90039-CL
17   CHRIS SZNEWAJS,
18                   Plaintiffs.                           DECLARATION OF CHRIS
19                                                         LOMBARDI IN SUPPORT OF
                     v.                                    PLAINTIFFS’ MOTION FOR
20                                                         PRELIMINARY INJUNCTION
     PIRCH, INC., LESLIE T. GLADSTONE, AND
21   DOES 1-10,
                                                           Hon. Christopher B. Latham
22
                     Defendants.                           Date:       TBS
23                                                         Time:       TBS
                                                           Place:      TBS
24
              I, Chris Lombardi, declare as follows:
25
              1.     I am the founder and president of Lombardi Construction, Inc. (“Lombardi”),
26

27   a custom homebuilder in the Southern California area founded in 1999. I have more than 25

28   years of experience in the industry.

                                                       1
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 1            2.     I submit this declaration in support of the Plaintiffs’ Motion for Preliminary
 2   Injunction (the “Motion”).1
 3
              3.     All facts set forth in this declaration are based on (a) my personal knowledge of
 4
     the Debtors’ operations and finances, and/or my review of Lombardi’s books and records, (b)
 5
     information I received from the Lombardi team working under my supervision or direction,
 6

 7   and/or (c) my opinion based upon my experiences dealing with Pirch and my decades of

 8   experience as a luxury homebuilder. If called upon to testify, I could and would testify

 9   competently to the facts set forth herein.
10
              4.     Pirch, Inc. (“Pirch”) was a seller of high end, custom-ordered home appliances
11
     and fixtures in Southern California. Lombardi has worked on at least 6 projects involving
12
     products from Pirch over the past nine years, involving approximately 15 orders and hundreds
13
     of products overall.
14

15            5.     Pirch did not manufacture any appliances or fixtures. Pirch did not operate by

16   stocking general inventory in the hope of a future sale to unknown customers. Rather,
17   customers would first order specific products, and only then would Pirch order such products
18
     from the manufacturer or supplier.
19
              6.     Many of the products sold by Pirch, particularly plumbing fixtures, could be
20
     custom-configured by the customer from a wide range of potential colors, styles and finishes.
21

22   For example, a customer could select a particular style of faucet, in a specific color and finish,

23   and with particular handles. This product configuration would then be specifically

24   manufactured or assembled by the manufacturer or supplier to fulfill that customer’s order.
25

26

27
     1
      Capitalized terms used but not defined herein have the meaning ascribed in the Motion or the accompanying
28
     Memorandum of Points and Authorities (the “Memorandum”).

                                                         2
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 1            7.    Many appliances sold by Pirch could also be configured with particular options
 2   at the customer’s order. But whether the product was largely custom-configurable (like a
 3
     faucet), or had some customization available (like a refrigerator with door options), or was not
 4
     customizable (like a microwave), Pirch did not carry such products as inventory for future
 5
     sales.
 6

 7            8.    After receiving products from the manufacturer or supplier, Pirch would hold

 8   the products until the specific customer was ready for delivery.

 9            9.    In my experience, such products were not then available for or offered by Pirch
10
     for sale to different customers. Instead, Pirch would individually tag appliances being held for
11
     future delivery with the customer name and order number, while plumbing fixtures (which are
12
     substantially smaller) were palletized for shipping and then tagged.
13
              10.   Lombardi was engaged by co-Plaintiff Chris Sznewajs to build a custom home
14

15   in Manhattan Beach, California (the “Project”).

16            11.   On June 28, 2022, Plaintiffs ordered certain appliances and related products for
17   the Project from Pirch, with a requested delivery date of March 1, 2024, under order no. ORD-
18
     219189-P6Q2K9 (the “Appliances Order”). On January 27, 2023, Plaintiffs ordered certain
19
     plumbing fixtures and related products for the Project from Pirch, with a requested delivery
20
     date of July 1, 2024, under order no. ORD-233180-W3M7B7 (the “Plumbing Order”).
21

22            12.   Some of the products in the Appliances Order or the Plumbing Order were

23   manufactured or assembled to the specific, custom order of the Plaintiffs. For example,

24   Lombardi worked with Mr. and Mrs. Sznewajs and their design team to select custom-
25   configurations for certain plumbing fixtures from a menu of potential styles and finishes, and
26
     these products were then assembled to order by the manufacturer.
27

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 1            13.   The Appliances Order was fully paid by the Plaintiffs by July 21, 2023. The
 2   Plumbing Order was fully paid by the Plaintiffs by September 15, 2023.
 3
              14.   Despite the full payment by Plaintiffs of the Appliances Order and of the
 4
     Plumbing Order, certain products from those orders have not been delivered to Plaintiffs. A
 5
     list of such products is attached as Exhibit 2 to the Memorandum (the “Missing Products”).
 6

 7            15.   Prior to the bankruptcy, Pirch sales representatives had confirmed by email to

 8   Lombardi that some of the Missing Products had been ordered and received by Pirch and were

 9   ready for delivery. Pirch was offering to deliver products in some of these communications,
10
     but Lombardi declined because it was still too early on the Project for such deliveries.
11
              16.   Based on my experience in the industry and with Pirch, and given the early
12
     order dates of the Appliances Order and the Plumbing Order, I believe that many if not all of
13
     the Missing Products were ordered and received by Pirch (the “Trust Property”). Based on
14

15   my experience in the industry and with Pirch, I believe that the Trust Property was held at the

16   Pirch Oceanside distribution center, either separately from other products or with tags or other
17   markings identifying such items as part of the Appliances Order or Plumbing Order.
18
              17.   I understand that the Trustee is taking action to consolidate Pirch locations,
19
     including moving product, and to prepare the products for imminent sale by auction. If this
20
     continues, I expect that the tags or other markings that identify the Trust Property will be
21

22   removed or lost, whether intentionally or not. If the Trust Property is sold, Plaintiffs will lose

23   products that they have been waiting on for almost two years and will have to incur additional

24   delays of time and cost to obtain such products. In my opinion, ordering replacement products
25   from another source would cost more than $200,000, not including the value of supervision
26
     time and coordination, and would require at least several months to obtain.
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     10210500.2
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                                              54



 1            Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is
 2   true and correct.
 3
     Executed on: May 22, 2024
 4

 5                                                 Chris Lombardi
                                                   President
 6                                                 Lombardi Construction, Inc.

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                             EXHIBIT 2
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                                                                       54                                           SALES ORDER
                                                                                                                    ORD-219189-P6Q2K9

                                                          Pirch Terms and Conditions

DEFINITIONS
Delivery and installation services may be performed by employees of Pirch and/or in certain circumstances by third parties. In this
Agreement, we refer to installation personnel as ³Professionals.´

AUTHORIZATION
By entering into this Agreement, You authorize Pirch to (a) arrange for Professionals to perform installation services and/or (b) order and
arrange for the delivery of special order merchandise, including special order merchandise that may be custom made, as specified in the
Agreement.

ENTIRE AGREEMENT
This Agreement constitutes the entire understanding between You and Pirch regarding the products and services specified in this
Agreement and may only be amended by a Change Order signed by You and Pirch. This Agreement expressly supersedes all prior written
or verbal agreements, representations or warranties made by Pirch, Professionals, You, or anyone else. Except as set forth in this
Agreement, You agree there are no oral or written agreements, representations, warranties or inducements, express or implied, in any way
conditioning this Agreement, and You expressly disclaim their existence. By placing a deposit on Your order, You acknowledge that You
have read, understand, and accept this Agreement in its entirety. You further acknowledge receiving a complete copy of this Agreement.
Keep it to protect Your legal rights.

CHANGES AND CHANGE ORDERS
Any changes to an installation, i.e., a substitution of material or an expansion of the scope of the work, will require You and Pirch to sign a
Change Order that will become part of this Agreement. We may require You to pay the additional cost caused by a Change Order at the
time a Change Order is agreed by You and Pirch.

ADDITIONAL CHARGES
For work that requires an additional charge, Professionals will provide an estimate prior to the work, and a description of any permits or
additional parts or labor needed. Most additional charges are not known until the Professional does an inspection of Your service
address. Some things can be hidden in the structure or behind appliances that cannot be seen until work is underway. Delivery and
installation more than 75 miles from a Pirch Showroom are subject to additional fees. Final tax values will be recalculated at the time of
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Pirch will hold all product pricing for up to one (1) year on orders where a minimum of fifty percent (50%) deposit has been made at the
time of order, and is maintained at all times throughout the fulfillment of the order. Price hold expires 12 months from the date of deposit.
Upon expiration, products are subject to then current pricing. You agree to pay Pirch according to the terms and conditions of this
Agreement. Except for accounts that have been approved by Pirch for net payment terms, all products must be paid in full no less than
thirty (30) days prior to the required delivery or installation date. Any payments not made when due are subject to a late payment charge
equal to 1.5% per month or, if less, the maximum lawful interest rate permitted under applicable law. Late payments may also result in
product delays. You agree to sole responsibility for vendor promotion or rebate redemptions. Manufacturer rebates or promotions are
subject to vendor guidelines.

RETURN POLICY
Pirch accepts returns or exchanges on closed box, unused merchandise that has not been installed within thirty (30) days of Your receipt
of an item. Proof of purchase is required for a refund, credit or exchange. Once returned, the item will be inspected, and exchanges,
credits and refunds will be issued for the purchase price only. If You return an item bought as part of a bundle or with a promotional
discount or free item, your refund, credit or exchange may be reduced by the value of the discount or free item. In the event of a return of
items purchased in connection with a promotional or reward card or mail-in rebate, all or a portion of the card or rebate amount may be
deducted from any refund, credit or exchange. Any taxes charged will be refunded in accordance with state and local laws. Pirch does not
accept returns on installed items unless the product arrived at the point of delivery damaged or the damage was a result of Pirch¶s
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mailed approximately ten (10) business days after receipt of returned merchandise. Refunds by credit card will be processed by Pirch
within five (5) business days. Your credit card merchant may take longer to post the refund to Your account. Refunds on purchases made
with a gift card will be refunded via store credit.

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have Your receipt or packing slip), Pirch may, in its discretion, permit the return or exchange of the purchase subject to a minimum
restocking charge of 25% of the purchase price (unless prohibited by law).

We would be happy to hold Your product for 30 days from the time we received all products for the scheduled phase of Your job. For
inventory storage beyond 30 days, a monthly holding fee of $150 or 5%, whichever is greater, will be assessed.

CUSTOM ORDERS
Custom orders begin production immediately upon order and are built to Your specifications. They cannot be cancelled, changed, returned
or refunded at any time. A non-refundable 100% deposit will be taken when the order is placed.

RESCHEDULES/REVISIT FEE
In the event that You or Your contractor, designer or other representative confirms a delivery or install date and the job site is not ready, is
unsafe or no one will be present at the designated time, and Pirch or Professionals are not notified of the need to reschedule at least
twenty-four (24) hours in advance, You will be charged a revisit/reschedule fee of $179. To ensure the health and safety of our employees
and service providers, we reserve the right to refuse or reschedule work due to unsafe conditions, which may include, without limitation,
extreme temperatures, extreme weather conditions, natural disasters, infestation, or the existence of other hazards.

CUSTOMER RESPONSIBILITIES
If Your service address is subject to any easements, covenants, or other legal encumbrances that could affect installation, You agree to let
Pirch or Professional know about them before installation. You agree to facilitate the location of utility lines. You are responsible for
identifying property lines. You agree to ensure that work areas are free of preexisting physical or environmental hazards, and
building/zoning code violations. You agree to provide Professionals access to work areas during working hours and provide access to
sanitary facilities or pay the facilities¶rental costs. You agree to ensure any security system You have will not interfere with installation. You
agree to provide power to, and, as applicable, climate control in, work areas. You agree not to allow unattended minors at Your service
address while Professional is present. You agree to control and keep pets away from work areas. You agree to keep posted permits on
display at all times. You agree to pay any transportation/storage charges or other resulting charges. YOU ASSUME THE RISK AND THE
FULL RESPONSIBILITY OF PHYSICALLY ASSISTING WITH DELIVERY OF MATERIALS OR WITH INSTALLATION.

PERMITS
Depending upon Your location, permits may be required for the installation. If Permits are required, You are responsible to obtain and pay
for such permits. If agreed by You and Pirch, Professional may obtain any necessary permits, but You are responsible for the cost of such
permits.

RESCISSION RIGHT
You have the right to cancel this transaction in its entirety without any penalty or obligation, within three (3) business days. You may cancel
by emailing, mailing, faxing, or personally delivering a written notice to Pirch at the store address specified on the Invoice by midnight of
the third business day after You received a signed and dated copy of this Agreement that includes this notice. Include Your name, Your
address, and the date You received the signed copy of this Agreement, and the Invoice number, and refer to this notice.

TERMINATION FOR BREACH You may terminate this Agreement if Pirch breaches this Agreement and fails to cure such breach within
thirty (30) days after You provide Pirch written notice of the breach. If You breach this Agreement and fail to cure such breach within thirty
(30) days (or five (5) days for failure to pay on time) after notice of the breach, or if You decline a reasonable Change Order request, Pirch
may immediately terminate the Agreement without further obligation to You. In the event of termination, You agree to pay Pirch the costs of
merchandise, materials, labor, and other services provided by Pirch and/or Professional through the date of termination, plus any other
amounts specified in this Agreement or allowed under applicable law.

DISCLAIMERS AND LIMITATIONS OF LIABILITY
PIRCH MAKES NO REPRESENTATION OR WARRANTY ABOUT THE SUITABILITY OF ANY OF THE MERCHANDISE AND
PRODUCTS THAT IT SELLS FOR ANY PURPOSE. ALL MERCHANDISE AND PRODUCTS ARE PROVIDED ³AS IS´WITHOUT
WARRANTY OF ANY KIND FROM PIRCH, EXPRESSED OR IMPLIED BY PIRCH.

WE AND OUR PROFESSIONALS AND OTHER THIRD-PARTY SERVICE PROVIDERS SHALL NOT BE LIABLE FOR ANY FAILURE OR
DELAY IN PERFORMANCE DUE TO ANY CAUSE BEYOND OUR CONTROL. IF OUR PROFESSIONALS¶OR THIRD-PARTY SERVICE
PROVIDER¶S ABILITY TO RENDER SERVICES IS IMPAIRED BY YOU OR CIRCUMSTANCES BEYOND OUR CONTROL, WE AND /OR
OUR PROFESSIONALS AND OTHER THIRD-PARTY SERVICE PROVIDERS MAY CHOOSE NOT TO PROVIDE SERVICES. FOR ANY
UN-INSTALLATION SERVICES PROVIDED, YOU AGREE THAT NEITHER WE NOR OUR PROFESSIONALS OR OTHER THIRD-
PARTY SERVICE PROVIDERS SHALL BE RESPONSIBLE FOR REPAIRING ANY CHANGES MADE TO YOUR RESIDENCE. NEITHER
WE NOR OUR PROFESSIONALS OR OTHER THIRD-PARTY SERVICE PROVIDERS WILL DISASSEMBLE, DECONSTRUCT, OR
BREAK DOWN ANY PRODUCT FOR HAUL-AWAY SERVICES EVEN IF NECESSARY FOR REMOVAL.

PIRCH IS NOT RESPONSIBLE FOR MANUFACTURER SPECIFICATIONS, CHANGES, PRODUCTION DELAYS, OR INSTRUCTIONS
ISSUED BY MANUFACTURER. ANY QUESTIONS REGARDING THE SPECIFICATIONS OR USE OF MERCHANDISE SHOULD BE
DIRECTED TO THE PARTICULAR MANUFACTURER.

IN NO EVENT SHALL PIRCH BE LIABLE FOR ANY INDIRECT, PUNITIVE, INCIDENTAL, SPECIAL OR CONSEQUENTIAL DAMAGES
ARISING OUT OF OR IN ANY WAY CONNECTED WITH ANY MERCHANDISE, PRODUCTS OR SERVICES PURCHASED OR

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OBTAINED FROM PIRCH, WHETHER BASED ON CONTRACT, TORT, STRICT LIABILITY OR OTHERWISE, EVEN IF ADVISED OF
THE POSSIBILITY OF ANY SUCH DAMAGES. FURTHER, PIRCH SHALL NOT BE RESPONSIBLE FOR, AND DOES NOT ASSUME,
ANY LIABILITY OR DAMAGES OF ANY SORT FOR ANY DELAY OR INABILITY TO USE ANY MERCHANDISE OR PRODUCTS SOLD
TO YOU. IN NO EVENT SHALL PIRCH¶S LIABILITY UNDER THIS AGREEMENT EXCEED THE AMOUNT PAID BY YOU FOR THE
DEFECTIVE MERCHANDISE, PRODUCTS OR SERVICES.

YOU HEREBY RELEASE AND HOLD HARMLESS PIRCH, PROFESSIONALS AND ANY THIRD-PARTY SERVICE PROVIDER FROM
AND AGAINST ANY LOSS, LIABILITY, OR DAMAGE THAT YOU OR THE OWNER OR LESSEE MAY SUFFER, INCLUDED BUT NOT
LIMITED TO ANY CHANGES OR ALTERATIONS TO YOUR SERVICE ADDRESS (CHANGES TO WALLS, BASE BOARDS, FLOORS,
ETC.).

THESE DISCLAIMERS, LIMITATIONS AND EXCLUSIONS APPLY REGARDLESS OF WHETHER SUCH DAMAGES WERE
FORESEEABLE AND WHETHER OR NOT PIRCH HAS BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES, AND
NOTWITHSTANDING THE FAILURE OF ANY AGREED OR OTHER REMEDY OF ITS ESSENTIAL PURPOSE. SOME STATES DO NOT
ALLOW DISCLAIMERS, LIMITATIONS OR EXCLUSIONS OF CERTAIN WARRANTIES, DAMAGES OR LIABILITY, SO THE ABOVE
PROVISIONS MAY NOT APPLY TO YOU IN WHOLE OR IN PART.

CLAIMS
Any claim by You against Pirch or Professionals related to or arising under this Agreement must be made in writing within thirty (30)
calendar days after the date You first become aware of a fact supporting such a claim. If You have not made any claim or rejected the
products or services within thirty (30) days after receiving the products or services, You will be deemed to have accepted them (if not
previously accepted), and You will have no right to reject the products or services for any reason or to revoke acceptance.

GENERAL PROVISIONS
This Agreement may not be assigned or otherwise transferred by You to any third party. Headings used in this Agreement are intended for
convenience or reference only and shall not control or affect the meaning or construction of any provision of this Agreement.




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                             EXHIBIT 3
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Sznewajs Appliances
Jun 28, 2022

Order For:                                         Deliver To:                               Request Delivery On:
Lombardi Construction                              John Henrikson                            3/1/2024
Contact:
240 S Sepulveda Blvd Ste 202                       Manhattan Beach, CA 90266
Manhattan Beach, CA 90266-6852                     (310) 922-9958
(310) 766-5319, john@lombardicustomhomes.com


       Formal Dining
       Main House
                           SUB-ZERO UC-15IP
                           15" ICE MACHINE WITH PUMP
1001                                                                                                                $4,269.00
                           NOTE: field reversible- panel ready

                           SUB-ZERO DEU2450BG/L
                           24" Designer Undercounter Beverage Center Ô Panel Ready - Left Hinge
1002                                                                                                                $2,849.00


                           SUB-ZERO DEU2450W/R
                           24" Designer Undercounter Wine Storage Ô Panel Ready - Right Hinge
1003                                                                                                                $4,009.00


                           SUB-ZERO 7030447
                           DUAL INSTALLATION KIT
1004                                                                                                                   $125.00
                           NOTE: Required if connecting 2 undercounter units

                                                                               Formal Dining subtotal          $11,252.00


       Kitchen
       Main House
                           MIELE G7366SCVI
                           FULLY INTEGRATED, AUTO DOS
2003                                                                                                                $2,049.00
                           NOTE: auto open door- AUTO DOS SOAP dispenser

                           SUB-ZERO DET3650CIID/R
                           36" INTEGRATED TALL COMBO FRIDGE W/ DISP & FREEZER DRAWERS,
2007                       RIGHT-HINGE- PANEL READY                                                                 $10,549.00




2007



                           WOLF MS24
                           24" STANDARD MICROWAVE OVEN
3004                                                                                                                  $859.00




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                           WOLF 809959
                           27" E SERIES TRIM - CLASSIC FI
3010                                                                                                             $480.00


                                                                          Butler's Pantry subtotal       $28,628.00


       Garage
       Main House
                           MIELE APCL005
                           STAINLESS STEEL BASE FOR LITTLE GIANTS (11318800)
4001                                                                                                             $638.00


                           MIELE PDR908HPSS
                           LITTLE GIANT DRYER HEAT PUMP STAINLESS STEEL
4002                                                                                                         $4,295.00


                           MIELE APCL005
                           STAINLESS STEEL BASE FOR LITTLE GIANTS (11318800)
4003                                                                                                             $638.00


                           MIELE PWM908SS
                           *11204470* 24" Little Giant Washer SS Washer
4004                                                                                                         $4,999.00


                                                                                 Garage subtotal          $10,570.00


       Michelle's Closet
       Main House
                           MIELE WXR860WCS
                           24" W1 Washer TDos &IntenseWash MTouch Control
5001                                                                                                         $2,299.00
                           NOTE: twin dos dispensing system

                           MIELE TXR860WP
                           24" T1 Dryer Heat Pump Glass Door & Steam WiFi MTouch Control
5002                                                                                                         $2,299.00


                           MIELE WTV502
                           WTV 502 stacking kit | 9256140
5003                                                                                                              $99.00


                                                                       Michelle's Closet subtotal          $4,697.00




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       Laundry Room
       Main House
                    LG KSTK4
                    27Ú Chrome Stacking Kit
6006                                                                                                            $31.50


                    LG DLGX6501W
                    7.4 cu.ft. Ultra Large Capacity Gas Dryer with Sensor Dry, TurboSteamå
6006                Technology and Wi-Fi Connectivity, White                                              $1,259.10


                    LG WT7900HWA
                    5.4 cu.ft. Mega Capacity Top Load Washer with TurboWashå Washer with
6006                Steam, Wi-Fi Enabled, White                                                               $1,124.10


                    LG WT7900HWA
                    5.4 cu.ft. Mega Capacity Top Load Washer with TurboWashå Washer with
6007                Steam, Wi-Fi Enabled, White                                                               $1,124.10


                    LG DLGX6501W
                    7.4 cu.ft. Ultra Large Capacity Gas Dryer with Sensor Dry, TurboSteamå
6007                Technology and Wi-Fi Connectivity, White                                              $1,259.10


                                                                    Laundry Room subtotal               $4,797.90


       Snack Bar
       Main House
                    SUB-ZERO CL3650U/O/R
                    36" Classic Over-and-Under Refrigerator/Freezer - Panel Ready
7001                                                                                                     $10,349.00


                    WOLF MS24
                    24" STANDARD MICROWAVE OVEN
7002                                                                                                          $859.00


                    FISHER & PAYKEL DD24DTI9N
                    Integrated Double DishDrawerå Full Size, Panel Ready
7004                                                                                                      $1,699.00


                    SCOTSMAN SCN60PA-1SU
                    CHEWABLE ICE W/ DRAIN PUMP - NUGGET ICE FULLY INTEGRATED. ADD
7005                OWN 3/4" DOOR - PANEL READY                                                           $5,149.00

                    NOTE: clear or nugget ice
                                                                          Snack Bar subtotal           $18,056.00
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        Main House- Outdoor
                            SUB-ZERO DEU2450RO/R
                            24" Undercounter Refrigerator Ô Panel Ready - Right Hinge
11001                                                                                                      $3,509.00


                                                                    Main House- Outdoor subtotal         $3,509.00




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Professional Services




           Adrian Zuluaga                                               Subtotal                 $138,226.36
           Sales Consultant                                             Tax                        $13,131.58
           Adrian.Zuluaga@pirch.com P: (949) 439-7635                   Grand Total              $151,357.94




                                                                           Payments Received:
                                                                         AMEX                      $157,634.24
                                                                         Return                      $1,771.94




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                                                                                           Total Payments                $159,406.18
                                                                                           Total Balance Due             ($8,048.24)


                                        Thank you. We appreciate your business.
By providing a deposit to your order, you will be accepting the terms and conditions located here:
PIRCH Terms and Conditions, or by navigating to https://www.pirch.com/terms-and-conditions-agreement.
Once you have placed a deposit, you may cancel your order within three (3) business days without any penalty. After this initial
period, cancellations or changes to your order may result in cancellation or restock fees pursuant to the Terms and Conditions.
Special order products, including but not limited to tubs and non-standard finish plumbing items, are custom order items and
are not eligible for cancellation.
We understand that your project may have multiple phases and a dynamic timeline. As such, Pirch will hold all product pricing
for up to one (1) year on all orders where a minimum of fifty percent (50%) deposit has been made. All tax amounts are based
on the specified jurisdictional rate at the time of the order. This amount is subject to change in the event the applicable
jurisdiction modifies the prevailing rate prior to or at the time of shipment of product.
All non-special order products may be returned within thirty (30) days of your receipt of product. Certain restrictions may apply
based on condition of the product and/or box. For more details on our Return Policy, please view the Terms and Conditions
referenced above


                        If you have any questions concerning this document, please contact 1 (949) 429-0800.
              PIRCH, INC., 3303 Hyland Ave, Suite D Costa Mesa, CA 92626 Tel : 1 (949) 429-0800 Fax : 1 (949) 429-0670
                                                           www.pirch.com




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Agreement, You agree there are no oral or written agreements, representations, warranties or inducements, express or implied, in any way
conditioning this Agreement, and You expressly disclaim their existence. By placing a deposit on Your order, You acknowledge that You
have read, understand, and accept this Agreement in its entirety. You further acknowledge receiving a complete copy of this Agreement.
Keep it to protect Your legal rights.

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Upon expiration, products are subject to then current pricing. You agree to pay Pirch according to the terms and conditions of this
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discount or free item, your refund, credit or exchange may be reduced by the value of the discount or free item. In the event of a return of
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merchandise. Installation fees are non-refundable after Pirch installation is completed.

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within five (5) business days. Your credit card merchant may take longer to post the refund to Your account. Refunds on purchases made
with a gift card will be refunded via store credit.

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You will be charged a minimum 25% restocking fee on all regular stock returns. Once product has been shipped by the vendor, it is subject
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due to customer preference, no-fits or any other reason will not be accepted. Pirch does not accept returns on special orders or custom
products.

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have Your receipt or packing slip), Pirch may, in its discretion, permit the return or exchange of the purchase subject to a minimum
restocking charge of 25% of the purchase price (unless prohibited by law).

We would be happy to hold Your product for 30 days from the time we received all products for the scheduled phase of Your job. For
inventory storage beyond 30 days, a monthly holding fee of $150 or 5%, whichever is greater, will be assessed.

CUSTOM ORDERS
Custom orders begin production immediately upon order and are built to Your specifications. They cannot be cancelled, changed, returned
or refunded at any time. A non-refundable 100% deposit will be taken when the order is placed.

RESCHEDULES/REVISIT FEE
In the event that You or Your contractor, designer or other representative confirms a delivery or install date and the job site is not ready, is
unsafe or no one will be present at the designated time, and Pirch or Professionals are not notified of the need to reschedule at least
twenty-four (24) hours in advance, You will be charged a revisit/reschedule fee of $179. To ensure the health and safety of our employees
and service providers, we reserve the right to refuse or reschedule work due to unsafe conditions, which may include, without limitation,
extreme temperatures, extreme weather conditions, natural disasters, infestation, or the existence of other hazards.

CUSTOMER RESPONSIBILITIES
If Your service address is subject to any easements, covenants, or other legal encumbrances that could affect installation, You agree to let
Pirch or Professional know about them before installation. You agree to facilitate the location of utility lines. You are responsible for
identifying property lines. You agree to ensure that work areas are free of preexisting physical or environmental hazards, and
building/zoning code violations. You agree to provide Professionals access to work areas during working hours and provide access to
sanitary facilities or pay the facilities¶ rental costs. You agree to ensure any security system You have will not interfere with installation. You
agree to provide power to, and, as applicable, climate control in, work areas. You agree not to allow unattended minors at Your service
address while Professional is present. You agree to control and keep pets away from work areas. You agree to keep posted permits on
display at all times. You agree to pay any transportation/storage charges or other resulting charges. YOU ASSUME THE RISK AND THE
FULL RESPONSIBILITY OF PHYSICALLY ASSISTING WITH DELIVERY OF MATERIALS OR WITH INSTALLATION.

PERMITS
Depending upon Your location, permits may be required for the installation. If Permits are required, You are responsible to obtain and pay
for such permits. If agreed by You and Pirch, Professional may obtain any necessary permits, but You are responsible for the cost of such
permits.

RESCISSION RIGHT
You have the right to cancel this transaction in its entirety without any penalty or obligation, within three (3) business days. You may cancel
by emailing, mailing, faxing, or personally delivering a written notice to Pirch at the store address specified on the Invoice by midnight of
the third business day after You received a signed and dated copy of this Agreement that includes this notice. Include Your name, Your
address, and the date You received the signed copy of this Agreement, and the Invoice number, and refer to this notice.

TERMINATION FOR BREACH You may terminate this Agreement if Pirch breaches this Agreement and fails to cure such breach within
thirty (30) days after You provide Pirch written notice of the breach. If You breach this Agreement and fail to cure such breach within thirty
(30) days (or five (5) days for failure to pay on time) after notice of the breach, or if You decline a reasonable Change Order request, Pirch
may immediately terminate the Agreement without further obligation to You. In the event of termination, You agree to pay Pirch the costs of
merchandise, materials, labor, and other services provided by Pirch and/or Professional through the date of termination, plus any other
amounts specified in this Agreement or allowed under applicable law.

DISCLAIMERS AND LIMITATIONS OF LIABILITY
PIRCH MAKES NO REPRESENTATION OR WARRANTY ABOUT THE SUITABILITY OF ANY OF THE MERCHANDISE AND
PRODUCTS THAT IT SELLS FOR ANY PURPOSE. ALL MERCHANDISE AND PRODUCTS ARE PROVIDED ³AS IS´ WITHOUT
WARRANTY OF ANY KIND FROM PIRCH, EXPRESSED OR IMPLIED BY PIRCH.

WE AND OUR PROFESSIONALS AND OTHER THIRD-PARTY SERVICE PROVIDERS SHALL NOT BE LIABLE FOR ANY FAILURE OR
DELAY IN PERFORMANCE DUE TO ANY CAUSE BEYOND OUR CONTROL. IF OUR PROFESSIONALS¶ OR THIRD-PARTY SERVICE
PROVIDER¶S ABILITY TO RENDER SERVICES IS IMPAIRED BY YOU OR CIRCUMSTANCES BEYOND OUR CONTROL, WE AND /OR
OUR PROFESSIONALS AND OTHER THIRD-PARTY SERVICE PROVIDERS MAY CHOOSE NOT TO PROVIDE SERVICES. FOR ANY
UN-INSTALLATION SERVICES PROVIDED, YOU AGREE THAT NEITHER WE NOR OUR PROFESSIONALS OR OTHER THIRD-
PARTY SERVICE PROVIDERS SHALL BE RESPONSIBLE FOR REPAIRING ANY CHANGES MADE TO YOUR RESIDENCE. NEITHER
WE NOR OUR PROFESSIONALS OR OTHER THIRD-PARTY SERVICE PROVIDERS WILL DISASSEMBLE, DECONSTRUCT, OR
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PIRCH IS NOT RESPONSIBLE FOR MANUFACTURER SPECIFICATIONS, CHANGES, PRODUCTION DELAYS, OR INSTRUCTIONS
ISSUED BY MANUFACTURER. ANY QUESTIONS REGARDING THE SPECIFICATIONS OR USE OF MERCHANDISE SHOULD BE
DIRECTED TO THE PARTICULAR MANUFACTURER.

IN NO EVENT SHALL PIRCH BE LIABLE FOR ANY INDIRECT, PUNITIVE, INCIDENTAL, SPECIAL OR CONSEQUENTIAL DAMAGES
ARISING OUT OF OR IN ANY WAY CONNECTED WITH ANY MERCHANDISE, PRODUCTS OR SERVICES PURCHASED OR

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OBTAINED FROM PIRCH, WHETHER BASED ON CONTRACT, TORT, STRICT LIABILITY OR OTHERWISE, EVEN IF ADVISED OF
THE POSSIBILITY OF ANY SUCH DAMAGES. FURTHER, PIRCH SHALL NOT BE RESPONSIBLE FOR, AND DOES NOT ASSUME,
ANY LIABILITY OR DAMAGES OF ANY SORT FOR ANY DELAY OR INABILITY TO USE ANY MERCHANDISE OR PRODUCTS SOLD
TO YOU. IN NO EVENT SHALL PIRCH¶S LIABILITY UNDER THIS AGREEMENT EXCEED THE AMOUNT PAID BY YOU FOR THE
DEFECTIVE MERCHANDISE, PRODUCTS OR SERVICES.

YOU HEREBY RELEASE AND HOLD HARMLESS PIRCH, PROFESSIONALS AND ANY THIRD-PARTY SERVICE PROVIDER FROM
AND AGAINST ANY LOSS, LIABILITY, OR DAMAGE THAT YOU OR THE OWNER OR LESSEE MAY SUFFER, INCLUDED BUT NOT
LIMITED TO ANY CHANGES OR ALTERATIONS TO YOUR SERVICE ADDRESS (CHANGES TO WALLS, BASE BOARDS, FLOORS,
ETC.).

THESE DISCLAIMERS, LIMITATIONS AND EXCLUSIONS APPLY REGARDLESS OF WHETHER SUCH DAMAGES WERE
FORESEEABLE AND WHETHER OR NOT PIRCH HAS BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES, AND
NOTWITHSTANDING THE FAILURE OF ANY AGREED OR OTHER REMEDY OF ITS ESSENTIAL PURPOSE. SOME STATES DO NOT
ALLOW DISCLAIMERS, LIMITATIONS OR EXCLUSIONS OF CERTAIN WARRANTIES, DAMAGES OR LIABILITY, SO THE ABOVE
PROVISIONS MAY NOT APPLY TO YOU IN WHOLE OR IN PART.

CLAIMS
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calendar days after the date You first become aware of a fact supporting such a claim. If You have not made any claim or rejected the
products or services within thirty (30) days after receiving the products or services, You will be deemed to have accepted them (if not
previously accepted), and You will have no right to reject the products or services for any reason or to revoke acceptance.

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                           VICTORIA & ALBERT AMT-N-SW-OF
                           AMIATA CONTEMPORARY DUAL ENDED TUB WITH OVERFLOW
6013                                                                                                           $4,223.70




6014




6015



                           KOHLER K-22695-0
                           HARKENå 1-PC TOILET, 1.28G
6016                                                                                                               $936.66


                           KOHLER K-22695-0
                           HARKENå 1-PC TOILET, 1.28G
6017                                                                                                               $936.66




6018



                           KOHLER K-4108-0
                           C3-230 BIDET SEAT
6020                                                                                                           $1,004.97




6021



                           WATERWORKS 07-88465-25315
                           R.W. Atlas Low Profile Three Hole Deck Mounted Lavatory Faucet with Metal
6021                       Lever Handles in Brass, 1.2gpm (4.5L/min)                                        2 @ $1,698.75


                           WATERWORKS 05-28709-84060
                           (RWSH01) R.W. Atlas 8 1/2" Shower Head, Arm and Flange with Fixed Spray
6021                       in Brass, 1.75gpm                                                                2 @ $1,770.00




6022




6024




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                            ELKAY 51300C
                            WATER COOLER FILTER
15002                                                                                                               $92.40


                            KOHLER K-22695-0
                            HARKENå 1-PC TOILET, 1.28G
15004                                                                                                              $936.66


                                                                        Teen Room/Gym subtotal               $2,525.66


        Pool Bathroom
        sink/drain/toilet tbd
                             UPS-OUT
                            FEDEX CHARGE
16001                                                                                                                $0.00




16003



                            WATERWORKS 05-70769-59187
                            (HNSH10) Henry 5 1/8" Shower Head, Arm and Flange with Adjustable Spray
16004                       in Unlacquered Brass, 1.75gpm                                                      $1,248.75


                            WATERWORKS 05-28851-28455
                            (HNHS10) Henry Handshower On Bar in Unlacquered Brass, 1.75gpm
16005                                                                                                          $1,522.50


                            WATERWORKS 05-13729-90896
                            (HNPB10) Henry Pressure Balance Control Valve Trim with Metal Lever
16006                       Handle in Unlacquered Brass                                                            $858.75




16007



                            WATERWORKS 05-93698-83873
                            Henry Volume Control Valve Trim with Metal Lever Handle, UNLACQUERED
16008                       BRASS                                                                                  $450.00


                            WATERWORKS 05-44112-63054
                            UNIVERSEL 2 WAY DIVERTER TRIM- UNLACQUERED BRASS
16009                                                                                                              $138.75




16010




16011




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           Adrian Zuluaga                                               Subtotal                 $119,353.42
           Sales Consultant                                             Tax                       $11,332.93
           Adrian.Zuluaga@pirch.com P: (949) 439-7635                   Grand Total              $130,686.35




                                                                           Payments Received:
                                                                         AMEX                      $119,554.06
                                                                         Return                          $62.36
                                                                         VISA                       $6,880.02




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                                                                                           Total Payments                $126,496.44
                                                                                           Total Balance Due               $4,189.91


                                        Thank you. We appreciate your business.
By providing a deposit to your order, you will be accepting the terms and conditions located here:
PIRCH Terms and Conditions, or by navigating to https://www.pirch.com/terms-and-conditions-agreement.
Once you have placed a deposit, you may cancel your order within three (3) business days without any penalty. After this initial
period, cancellations or changes to your order may result in cancellation or restock fees pursuant to the Terms and Conditions.
Special order products, including but not limited to tubs and non-standard finish plumbing items, are custom order items and
are not eligible for cancellation.
We understand that your project may have multiple phases and a dynamic timeline. As such, Pirch will hold all product pricing
for up to one (1) year on all orders where a minimum of fifty percent (50%) deposit has been made. All tax amounts are based
on the specified jurisdictional rate at the time of the order. This amount is subject to change in the event the applicable
jurisdiction modifies the prevailing rate prior to or at the time of shipment of product.
All non-special order products may be returned within thirty (30) days of your receipt of product. Certain restrictions may apply
based on condition of the product and/or box. For more details on our Return Policy, please view the Terms and Conditions
referenced above


                        If you have any questions concerning this document, please contact 1 (949) 429-0800.
              PIRCH, INC., 3303 Hyland Ave, Suite D Costa Mesa, CA 92626 Tel : 1 (949) 429-0800 Fax : 1 (949) 429-0670
                                                           www.pirch.com




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                                                          Pirch Terms and Conditions

DEFINITIONS
Delivery and installation services may be performed by employees of Pirch and/or in certain circumstances by third parties. In this
Agreement, we refer to installation personnel as ³Professionals.´

AUTHORIZATION
By entering into this Agreement, You authorize Pirch to (a) arrange for Professionals to perform installation services and/or (b) order and
arrange for the delivery of special order merchandise, including special order merchandise that may be custom made, as specified in the
Agreement.

ENTIRE AGREEMENT
This Agreement constitutes the entire understanding between You and Pirch regarding the products and services specified in this
Agreement and may only be amended by a Change Order signed by You and Pirch. This Agreement expressly supersedes all prior written
or verbal agreements, representations or warranties made by Pirch, Professionals, You, or anyone else. Except as set forth in this
Agreement, You agree there are no oral or written agreements, representations, warranties or inducements, express or implied, in any way
conditioning this Agreement, and You expressly disclaim their existence. By placing a deposit on Your order, You acknowledge that You
have read, understand, and accept this Agreement in its entirety. You further acknowledge receiving a complete copy of this Agreement.
Keep it to protect Your legal rights.

CHANGES AND CHANGE ORDERS
Any changes to an installation, i.e., a substitution of material or an expansion of the scope of the work, will require You and Pirch to sign a
Change Order that will become part of this Agreement. We may require You to pay the additional cost caused by a Change Order at the
time a Change Order is agreed by You and Pirch.

ADDITIONAL CHARGES
For work that requires an additional charge, Professionals will provide an estimate prior to the work, and a description of any permits or
additional parts or labor needed. Most additional charges are not known until the Professional does an inspection of Your service
address. Some things can be hidden in the structure or behind appliances that cannot be seen until work is underway. Delivery and
installation more than 75 miles from a Pirch Showroom are subject to additional fees. Final tax values will be recalculated at the time of
order shipment.

PRICE POLICY & PAYMENT
Pirch will hold all product pricing for up to one (1) year on orders where a minimum of fifty percent (50%) deposit has been made at the
time of order, and is maintained at all times throughout the fulfillment of the order. Price hold expires 12 months from the date of deposit.
Upon expiration, products are subject to then current pricing. You agree to pay Pirch according to the terms and conditions of this
Agreement. Except for accounts that have been approved by Pirch for net payment terms, all products must be paid in full no less than
thirty (30) days prior to the required delivery or installation date. Any payments not made when due are subject to a late payment charge
equal to 1.5% per month or, if less, the maximum lawful interest rate permitted under applicable law. Late payments may also result in
product delays. You agree to sole responsibility for vendor promotion or rebate redemptions. Manufacturer rebates or promotions are
subject to vendor guidelines.

RETURN POLICY
Pirch accepts returns or exchanges on closed box, unused merchandise that has not been installed within thirty (30) days of Your receipt
of an item. Proof of purchase is required for a refund, credit or exchange. Once returned, the item will be inspected, and exchanges,
credits and refunds will be issued for the purchase price only. If You return an item bought as part of a bundle or with a promotional
discount or free item, your refund, credit or exchange may be reduced by the value of the discount or free item. In the event of a return of
items purchased in connection with a promotional or reward card or mail-in rebate, all or a portion of the card or rebate amount may be
deducted from any refund, credit or exchange. Any taxes charged will be refunded in accordance with state and local laws. Pirch does not
accept returns on installed items unless the product arrived at the point of delivery damaged or the damage was a result of Pirch¶s
installation process.

Shipping and delivery charges are non-refundable except for product that arrived at the point of delivery damaged or defective
merchandise. Installation fees are non-refundable after Pirch installation is completed.

REFUNDS
Refunds will be made in the same form as original purchase. Refunds on purchases made by cash or check will be refunded by check
mailed approximately ten (10) business days after receipt of returned merchandise. Refunds by credit card will be processed by Pirch
within five (5) business days. Your credit card merchant may take longer to post the refund to Your account. Refunds on purchases made
with a gift card will be refunded via store credit.

RESTOCKING/HOLDING FEE
You will be charged a minimum 25% restocking fee on all regular stock returns. Once product has been shipped by the vendor, it is subject
to refund/restocking policy. Returns on special order items are limited to transit damage or manufacturer defect only. Special order returns
due to customer preference, no-fits or any other reason will not be accepted. Pirch does not accept returns on special orders or custom
products.

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Where all conditions for returning or exchanging a purchase are not met (e.g., You do not have original packaging or accessories or do not
have Your receipt or packing slip), Pirch may, in its discretion, permit the return or exchange of the purchase subject to a minimum
restocking charge of 25% of the purchase price (unless prohibited by law).

We would be happy to hold Your product for 30 days from the time we received all products for the scheduled phase of Your job. For
inventory storage beyond 30 days, a monthly holding fee of $150 or 5%, whichever is greater, will be assessed.

CUSTOM ORDERS
Custom orders begin production immediately upon order and are built to Your specifications. They cannot be cancelled, changed, returned
or refunded at any time. A non-refundable 100% deposit will be taken when the order is placed.

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In the event that You or Your contractor, designer or other representative confirms a delivery or install date and the job site is not ready, is
unsafe or no one will be present at the designated time, and Pirch or Professionals are not notified of the need to reschedule at least
twenty-four (24) hours in advance, You will be charged a revisit/reschedule fee of $179. To ensure the health and safety of our employees
and service providers, we reserve the right to refuse or reschedule work due to unsafe conditions, which may include, without limitation,
extreme temperatures, extreme weather conditions, natural disasters, infestation, or the existence of other hazards.

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If Your service address is subject to any easements, covenants, or other legal encumbrances that could affect installation, You agree to let
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sanitary facilities or pay the facilities¶ rental costs. You agree to ensure any security system You have will not interfere with installation. You
agree to provide power to, and, as applicable, climate control in, work areas. You agree not to allow unattended minors at Your service
address while Professional is present. You agree to control and keep pets away from work areas. You agree to keep posted permits on
display at all times. You agree to pay any transportation/storage charges or other resulting charges. YOU ASSUME THE RISK AND THE
FULL RESPONSIBILITY OF PHYSICALLY ASSISTING WITH DELIVERY OF MATERIALS OR WITH INSTALLATION.

PERMITS
Depending upon Your location, permits may be required for the installation. If Permits are required, You are responsible to obtain and pay
for such permits. If agreed by You and Pirch, Professional may obtain any necessary permits, but You are responsible for the cost of such
permits.

RESCISSION RIGHT
You have the right to cancel this transaction in its entirety without any penalty or obligation, within three (3) business days. You may cancel
by emailing, mailing, faxing, or personally delivering a written notice to Pirch at the store address specified on the Invoice by midnight of
the third business day after You received a signed and dated copy of this Agreement that includes this notice. Include Your name, Your
address, and the date You received the signed copy of this Agreement, and the Invoice number, and refer to this notice.

TERMINATION FOR BREACH You may terminate this Agreement if Pirch breaches this Agreement and fails to cure such breach within
thirty (30) days after You provide Pirch written notice of the breach. If You breach this Agreement and fail to cure such breach within thirty
(30) days (or five (5) days for failure to pay on time) after notice of the breach, or if You decline a reasonable Change Order request, Pirch
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THE POSSIBILITY OF ANY SUCH DAMAGES. FURTHER, PIRCH SHALL NOT BE RESPONSIBLE FOR, AND DOES NOT ASSUME,
ANY LIABILITY OR DAMAGES OF ANY SORT FOR ANY DELAY OR INABILITY TO USE ANY MERCHANDISE OR PRODUCTS SOLD
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TYPE         ITEM NO.   BRAND       CODE            DESCRIPTION                                                             CHARGE         QUANTITY


Appliances       1002   Sub-Zero    DEU2450BG/L     24" Designer Undercounter Beverage Center - Panel Ready - Left Hinge       $2,849.00       2


Appliances       1003   Sub-Zero    DEU2450W/R      24" Designer Undercounter Wine Storage - Panel Ready - Right Hinge         $4,009.00       1


Appliances       1004   Sub-Zero    7030447         DUAL INSTALLATION KIT                                                       $125.00        2


Appliances       2003    Miele      G7366SCVI       FULLY INTEGRATED, AUTO DOS                                                 $2,049.00       1


Appliances       2007   Sub-Zero    DET3650CIID/R   36" INTEGRATED TALL COMBO FRIDGE W/ DISP & FREEZER DRAWERS,               $10,549.00       2
                                                    RIGHT-HINGE- PANEL READY
Appliances       3002   Scotsman    SCN60PA-1SU     CHEWABLE ICE W/ DRAIN PUMP - NUGGET ICE FULLY INTEGRATED. ADD              $5,149.00       1
                                                    OWN 3/4" DOOR - PANEL READY
Appliances       3003    Miele      G7156SCVI       FULLY INTEGRATED, CHINA & CRYSTAL                                          $1,699.00       2


Appliances       3004     Wolf      MS24            24" STANDARD MICROWAVE OVEN                                                 $859.00        2


Appliances       3005     Wolf      809959          27" E SERIES TRIM - CLASSIC FI                                              $480.00        3


Appliances       3006     Wolf      SO3050PE/S/P    30" PROFESSIONAL SINGLE E SERIES OVEN                                      $5,019.00       1


Appliances       3007     Wolf      MS24            24" STANDARD MICROWAVE OVEN                                                 $859.00        2


Appliances       3007     Wolf      WWD30           Warming Drawer - requires panel                                            $2,259.00       3


Appliances       3008     Wolf      808152          DOOR KIT - INTEGRATED, WD30                                                  $85.00        1


Appliances       3008     Wolf      809959          27" E SERIES TRIM - CLASSIC FI                                              $480.00        3


Appliances       3009     Wolf      MS24            24" STANDARD MICROWAVE OVEN                                                 $859.00        2


Appliances       3010     Wolf      809959          27" E SERIES TRIM - CLASSIC FI                                              $480.00        3


Appliances       4001    Miele      APCL005         STAINLESS STEEL BASE FOR LITTLE GIANTS (11318800)                           $638.00        4


Appliances       4002    Miele      PDR908HPSS      LITTLE GIANT DRYER HEAT PUMP STAINLESS STEEL                               $4,295.00       2


Appliances       4003    Miele      APCL005         STAINLESS STEEL BASE FOR LITTLE GIANTS (11318800)                           $638.00        4


Appliances       4004    Miele      PWM908SS        *11204470* 24" Little Giant Washer SS Washer                               $4,999.00       2


Appliances       5001    Miele      WXR860WCS       24" W1 Washer TDos &IntenseWash MTouch Control                             $2,299.00       5


Appliances       5002    Miele      TXR860WP        24" T1 Dryer Heat Pump Glass Door & Steam WiFi MTouch Control              $2,299.00       5


Appliances       5003    Miele      WTV502          WTV 502 stacking kit | 9256140                                               $99.00        14


Appliances       6006     LG        KSTK4           27"Chrome Stacking Kit                                                       $31.50        2


Appliances       6006     LG        DLGX6501W       7.4 cu.ft. Ultra Large Capacity Gas Dryer with Sensor Dry, TurboSteam      $1,259.10       2
                                                    Technology and Wi-Fi Connectivity, White
Appliances       6006     LG        WT7900HWA       5.4 cu.ft. Mega Capacity Top Load Washer with TurboWash Washer with        $1,124.10       1
                                                    Steam, Wi-Fi Enabled, White
Appliances       6007     LG        WT7900HWA       5.4 cu.ft. Mega Capacity Top Load Washer with TurboWash Washer with        $1,124.10       1
                                                    Steam, Wi-Fi Enabled, White
Appliances       6007     LG        DLGX6501W       7.4 cu.ft. Ultra Large Capacity Gas Dryer with Sensor Dry, TurboSteam      $1,259.10       2
                                                    Technology and Wi-Fi Connectivity, White
Appliances       7002     Wolf      MS24            24" STANDARD MICROWAVE OVEN                                                 $859.00        2


Appliances       7005   Scotsman    SCN60PA-1SU     CHEWABLE ICE W/ DRAIN PUMP - NUGGET ICE FULLY INTEGRATED. ADD              $5,149.00       1
                                                    OWN 3/4" DOOR - PANEL READY
Appliances      11001   Sub-Zero    DEU2450RO/R     24" Undercounter Refrigerator Panel Ready - Right Hinge                    $3,509.00       2




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TYPE         ITEM NO.        BRAND          CODE             DESCRIPTION                                                                  CHARGE         QUANTITY


Appliances       1002       Sub-Zero        DEU2450BG/L      24" Designer Undercounter Beverage Center - Panel Ready - Left Hinge            $2,849.00       2


Appliances       1003       Sub-Zero        DEU2450W/R       24" Designer Undercounter Wine Storage - Panel Ready - Right Hinge              $4,009.00       1


Plumbing         1003        Kohler         K-6428-0         SKIRTED ONE-PIECE COMPACT ELONGATED 1.28 GPF TOILET                             $1,115.85       1


Plumbing         2004        Kohler         K-6428-0         SKIRTED ONE-PIECE COMPACT ELONGATED 1.28 GPF TOILET                             $1,115.85       1


Plumbing         3004      Waterstone       4010-UPB         TRADITIONAL AIR SWITCH - UNLACQUERED POLISHED BRASS                              $391.50        3


Plumbing         3005      Waterstone       1252HC-UPB       PEMBROKE HOT AND COLD FILTRATION FAUCET - CROSS HANDLES                          $800.25        1


Plumbing         3006      Waterstone       5000             HOT TANK W/ PRV                                                                  $513.00        4


Plumbing         3007      Body Glove       WI-BG12000       FILTRATION SYSTEM, 1000 GALLON                                                   $712.60        4


Plumbing         3009   Mountain Plumbing   MT400U/ULB       Round Air Gap Cover Only                                                          $21.60        1


Plumbing         3010     INSINKERATOR      ESSENTIAL-XTR    EVOLUTION ESSENTIAL ¾ HP CONTINUOUS FEED GARBAGE DISPOSER                        $421.04        3
                                                             WITH PC/SN AIR SWITCH
Plumbing         4002      Waterstone       4010-UPB         TRADITIONAL AIR SWITCH - UNLACQUERED POLISHED BRASS                              $391.50        3


Plumbing         4003 MOUNTAIN PLUMBING MT400U/ULB           Round Air Gap Cover Only                                                          $21.60        1


Plumbing         4005   Mountain Plumbing   MT202/PVD        DISPOSER FLANGE W/ EXTENDED THROAT FOR THICKER SINK                              $157.80        2
                                                             INSTALLATIONS W/ STOPPER/STRAINER - PVD BRASS
Plumbing         4006     INSINKERATOR      ESSENTIAL-XTR    EVOLUTION ESSENTIAL ¾ HP CONTINUOUS FEED GARBAGE DISPOSER                        $421.04        3
                                                             WITH PC/SN AIR SWITCH
Plumbing         4007   Mountain Plumbing   MT200EV/PVD      COMPLETE STRAINER W/ COLLAR WHICH FITS ALL OLD & NEW ISE                         $156.00        2
                                                             PRODUCTS - PVD EVERBRASS
Plumbing         6013   VICTORIA & ALBERT   AMT-N-SW-OF      AMIATA CONTEMPORARY DUAL ENDED TUB WITH OVERFLOW                                $4,223.70       2


Plumbing         6016        Kohler         K-22695-0        HARKEN 1-PC TOILET, 1.28G                                                        $936.66        2


Plumbing         6017        Kohler         K-22695-0        HARKEN 1-PC TOILET, 1.28G                                                        $936.66        2


Plumbing         7001      Waterworks       07-31912-54866   Riverun Gooseneck Lavatory Faucet with Two-Tone Lever Handles in                 $926.25        1
                                                             Nickel/Matte Black, 1.2gpm (4.5L/m)
Plumbing         7004      Waterworks       05-94229-96855   Riverun Handshower on Bar in Nickel, 1.75gpm (6.6L/min)                          $862.50        1


Plumbing         7011        Kohler         K-22695-0        HARKEN 1-PC TOILET, 1.28G                                                        $936.66        2


Plumbing         8004      Waterworks       05-65016-44989   HIGHGATE HANDSHOWER WITH DIVERTER AND WHITE PORCELAIN                           $1,106.25       1
                                                             HANDLE
Plumbing         8007        Kohler         K-22695-0        HARKEN 1-PC TOILET, 1.28G                                                        $936.66        2


Plumbing         8008      Waterworks       05-43221-87265   (HGXS70) Highgate Exposed Thermostatic System with 6" Shower Rose and           $1,785.00       1
                                                             White Porcelain Lever Handle in Nickel, 1.75gpm
Plumbing         9004      Waterworks       05-94229-96855   Riverun Handshower on Bar in Nickel, 1.75gpm (6.6L/min)                          $862.50        1


Plumbing         9011        Kohler         K-22695-0        HARKEN 1-PC TOILET, 1.28G                                                        $936.66        2


Plumbing        10001      Waterworks       07-03815-17626   Ludlow Volta Lavatory Faucet with Cross Handles in Nickel, 1.2gpm (4.5L/m)       $772.50        1


Plumbing        10004      Waterworks       05-86925-22357   Ludlow Volta Handshower on Bar in Nickel, 1.75gpm (6.6L/min)                     $787.50        1


Plumbing        10009        Kohler         K-22695-0        HARKEN 1-PC TOILET, 1.28G                                                        $936.66        2


Plumbing        10010      Waterworks       05-12269-14641   (LVS235) Ludlow Volta 3 1/4" Showerhead with Adjustable Spray with 8"            $442.50        1
                                                             Wall Mounted 45 Degree Shower Arm in Nickel, 1.75gpm (6.6L/min)
Plumbing        11004   Mountain Plumbing   MT300/PN         Kitchen Sinks Basket Strainers - Polished Nickel                                  $75.00        4




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TYPE         ITEM NO.        BRAND          CODE             DESCRIPTION                                                            CHARGE         QUANTITY


Appliances       1002       Sub-Zero        DEU2450BG/L      24" Designer Undercounter Beverage Center - Panel Ready - Left Hinge      $2,849.00       2


Appliances       1003       Sub-Zero        DEU2450W/R       24" Designer Undercounter Wine Storage - Panel Ready - Right Hinge        $4,009.00       1


Plumbing        11005      Waterworks       07-33128-97725   HENRY ONE HOLE GOOSENECK INTEGRATED PULL SPRAY KITCHEN                    $2,711.25       1
                                                             FAUCET WITH LEVER HANDLE IN NICKEL, 1.75GPM
Plumbing        12002     Newport Brass     3290-5811/03N    Air Activated Disposer Switch POLISHED BRASS UNCOATED (LIVING)             $225.55        1


Plumbing        12005   Mountain Plumbing   MT200EV/PVD      COMPLETE STRAINER W/ COLLAR WHICH FITS ALL OLD & NEW ISE                   $148.80        2
                                                             PRODUCTS - PVD EVERBRASS
Plumbing        12006     INSINKERATOR      ESSENTIAL-XTR    EVOLUTION ESSENTIAL ¾ HP CONTINUOUS FEED GARBAGE DISPOSER                  $421.04        3
                                                             WITH PC/SN AIR SWITCH
Plumbing        13003        Kohler         K-6428-0         SKIRTED ONE-PIECE COMPACT ELONGATED 1.28 GPF TOILET                       $1,115.85       1


Plumbing        14003      Waterworks       05-13729-90896   (HNPB10) Henry Pressure Balance Control Valve Trim with Metal Lever        $858.75        1
                                                             Handle in Unlacquered Brass
Plumbing        14010        Kohler         K-6428-0         SKIRTED ONE-PIECE COMPACT ELONGATED 1.28 GPF TOILET                       $1,115.85       1


Plumbing        15001        ELKAY          LBWDC00WHC       FILTERED COMMERCIAL IN-WALL WATER DISPENSER ASPEN WHITE                   $1,496.60       1


Plumbing        15002        ELKAY          51300C           WATER COOLER FILTER                                                         $92.40        1


Plumbing        15004        Kohler         K-22695-0        HARKEN 1-PC TOILET, 1.28G                                                  $936.66        2


Plumbing        16006      Waterworks       05-13729-90896   (HNPB10) Henry Pressure Balance Control Valve Trim with Metal Lever        $858.75        1
                                                             Handle in Unlacquered Brass
Plumbing        16015      Waterworks       07-47796-03099   (HNLS60) Henry Wall Mounted Lavatory Faucet with Cross Handles             $990.00        1




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